                Case 25-01384-jd                   Doc 27        Filed 04/25/25 Entered 04/28/25 09:44:39                                        Desc Main
                                                                 Document      Page 1 of 67
 Fill in this information to identify your case:                                                                                         Filed By The Court

     Debtor 1
                                                                                                                                        4/25/2025 4:14 PM
                        Jacqueline            Elizabeth               Ard
                                                                                                                                         U.S. BANKRUPTCY COURT
                        First Name            Middle Name            Last Name                                                         DISTRICT OF SOUTH CAROLINA
     Debtor 2           Terry                 Frank                   Nicola
     (Spouse, if filing) First Name           Middle Name            Last Name

     United States Bankruptcy Court for the: District of South Carolina

     Case number (if 25-01384-JD
     known)                                                                                                                                      ❑ Check if this is an
                                                                                                                                                      amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your
name and case number (if known).
1.     Do any creditors have claims secured by your property?
       ❑ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
      Part 1:       List All Secured Claims

 2.      List all secured claims. If a creditor has more than one secured claim, list the creditor              Column A                 Column B               Column C
         separately for each claim. If more than one creditor has a particular claim, list the other            Amount of claim          Value of collateral    Unsecured
         creditors in Part 2. As much as possible, list the claims in alphabetical order according to the       Do not deduct the
                                                                                                                                         that supports this     portion
         creditor’s name.                                                                                       value of collateral.
                                                                                                                                         claim                  If any

     2.1 Estate At Westbury Owners                     Describe the property that secures the claim:                   $22,625.02               $91,950.00               $0.00
          Assoc, Inc
                                                       PIN R600 031 000 0266 1106
         Creditor’s Name
                                                       100 Kensington Blvd Unit 1106 Bluffton, SC 29910-7484 Estate at Westbury (violation of the automatic
          Board of Directors
                                                       stay)
          85 Kensington Blvd                           As of the date you file, the claim is: Check all that apply.
         Number          Street
                                                       ❑ Contingent
          Bluffton, SC 29910-4884                      ❑ Unliquidated
         City               State       ZIP Code       ✔ Disputed
                                                       ❑
         Who owes the debt? Check one.                 Nature of lien. Check all that apply.
         ✔ Debtor 1 only
         ❑                                             ❑ An agreement you made (such as mortgage or secured car loan)
         ❑ Debtor 2 only                               ❑ Statutory lien (such as tax lien, mechanic’s lien)
         ❑ Debtor 1 and Debtor 2 only                  ✔ Judgment lien from a lawsuit
                                                       ❑
         ❑ At least one of the debtors and             ❑ Other (including a right to
              another                                      offset)
         ❑ Check if this claim relates to a
              community debt
         Date debt was incurred                        Last 4 digits of account number         1    4       0   7

         Add the dollar value of your entries in Column A on this page. Write that number here:                       $22,625.02




Official Form 106D                                  Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 16
             Case 25-01384-jd              Doc 27         Filed 04/25/25 Entered 04/28/25 09:44:39                                    Desc Main
                                                          Document      Page 2 of 67
Debtor 1        Jacqueline            Elizabeth               Ard                              Case number (if known) 25-01384-JD
Debtor 2        Terry                 Frank                   Nicola
                First Name            Middle Name             Last Name


                                                                                                       Column A               Column B                Column C
                Additional Page                                                                        Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                    that supports this      portion
                After listing any entries on this page, number them beginning with 2.3,                Do not deduct the
                followed by 2.4, and so forth.                                                         value of collateral.
                                                                                                                              claim                   If any

  2.2 Hilton Head Resort                         Describe the property that secures the claim:                  $43,493.32          $139,200.00                $0.00
      Creditor’s Name
                                                 PIN R510 012 000 025B 4408
       Board of Directors
                                                 663 William Hilton Pkwy Unit 4408 Hilton Head Island, SC 29928-3537
       663 William Hilton Pkwy                   As of the date you file, the claim is: Check all that apply.
      Number         Street
                                                 ❑ Contingent
       Hilton Head, SC 29928-3506                ❑ Unliquidated
      City              State      ZIP Code      ✔ Disputed
                                                 ❑
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ❑ Debtor 1 only                            ❑ An agreement you made (such as mortgage or secured car loan)
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ✔ Debtor 1 and Debtor 2 only
      ❑                                          ✔ Judgment lien from a lawsuit
                                                 ❑
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred                     Last 4 digits of account number         4    4   0    8

      Remarks: Alleged HOA fees

      Add the dollar value of your entries in Column A on this page. Write that number here:                 $43,493.32
      If this is the last page of your form, add the dollar value totals from all pages.
      Write that number here:




Official Form 106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 16
             Case 25-01384-jd              Doc 27         Filed 04/25/25 Entered 04/28/25 09:44:39                                    Desc Main
                                                          Document      Page 3 of 67
Debtor 1         Jacqueline           Elizabeth               Ard                                Case number (if known) 25-01384-JD
Debtor 2         Terry                Frank                   Nicola
                First Name            Middle Name             Last Name


                                                                                                       Column A               Column B                Column C
                Additional Page                                                                        Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                    that supports this      portion
                After listing any entries on this page, number them beginning with 2.3,                Do not deduct the
                followed by 2.4, and so forth.                                                         value of collateral.
                                                                                                                              claim                   If any

 2.3 Nationstar Mortgage, LLC                   Describe the property that secures the claim:               $211,866.31            $139,200.00         $72,666.31
      Creditor’s Name
                                                 PIN R510 012 000 025B 4408
      Attn: Bankruptcy Department
                                                 663 William Hilton Pkwy Unit 4408 Hilton Head Island, SC 29928-3537
      PO Box 619096                             As of the date you file, the claim is: Check all that apply.
      Number         Street
                                                ❑ Contingent
      Dallas, TX 75261-9741                     ❑ Unliquidated
      City               State     ZIP Code     ❑ Disputed
      Who owes the debt? Check one.             Nature of lien. Check all that apply.
      ❑ Debtor 1 only                           ✔ An agreement you made (such as mortgage or secured car loan)
                                                ❑
      ❑ Debtor 2 only                           ✔ Statutory lien (such as tax lien, mechanic’s lien)
                                                ❑
      ✔ Debtor 1 and Debtor 2 only
      ❑                                         ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and         ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred     01/27/2022     Last 4 digits of account number         4    1     9    2

 2.3 Nationstar Mortgage, LLC                   Describe the property that secures the claim:                  $38,281.98          $139,200.00                 $0.00
      (arrearage)
      Creditor’s Name                            PIN R510 012 000 025B 4408
                                                 663 William Hilton Pkwy Unit 4408 Hilton Head Island, SC 29928-3537
      Attn: Bankruptcy Department
                                                As of the date you file, the claim is: Check all that apply.
      PO Box 619096
      Number         Street                     ❑ Contingent
                                                ❑ Unliquidated
      Dallas, TX 75261-9741
                                                ❑ Disputed
      City               State     ZIP Code
      Who owes the debt? Check one.             Nature of lien. Check all that apply.
      ❑ Debtor 1 only                           ✔ An agreement you made (such as mortgage or secured car loan)
                                                ❑
      ❑ Debtor 2 only                           ✔ Statutory lien (such as tax lien, mechanic’s lien)
                                                ❑
      ✔ Debtor 1 and Debtor 2 only
      ❑                                         ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and         ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred     01/27/2022     Last 4 digits of account number         4    1     9    2

      Add the dollar value of your entries in Column A on this page. Write that number here:                $211,866.31
      If this is the last page of your form, add the dollar value totals from all pages.
      Write that number here:




Official Form 106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 3 of 16
             Case 25-01384-jd              Doc 27         Filed 04/25/25 Entered 04/28/25 09:44:39                                    Desc Main
                                                          Document      Page 4 of 67
Debtor 1        Jacqueline            Elizabeth               Ard                              Case number (if known) 25-01384-JD
Debtor 2        Terry                 Frank                   Nicola
                First Name            Middle Name             Last Name


                                                                                                       Column A               Column B                Column C
                Additional Page                                                                        Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                    that supports this      portion
                After listing any entries on this page, number them beginning with 2.3,                Do not deduct the
                followed by 2.4, and so forth.                                                         value of collateral.
                                                                                                                              claim                   If any

  2.4 Norman Jewelry and Loan                    Describe the property that secures the claim:                  $3,260.73            $25,000.00                $0.00
      Creditor’s Name
                                                 Woman's custom made engagement ring
       24777 Telegraph Suite B
      Number         Street
                                                 As of the date you file, the claim is: Check all that apply.
                                                 ❑ Contingent
       Southfield, MI 48034                      ❑ Unliquidated
      City              State      ZIP Code      ❑ Disputed
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                          ✔ An agreement you made (such as mortgage or secured car loan)
                                                 ❑
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only               ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred     08/18/2024      Last 4 digits of account number         1    6   4    7

      Remarks: Refuse to Turnover Property of the Estate
  2.5 Polly Nicola                               Describe the property that secures the claim:                  unknown                $2,508.87               $0.00
      Creditor’s Name
                                                 Komatsu: Northern Trust (1)
       2583 Lower Assembly Drive
      Number         Street
                                                 As of the date you file, the claim is: Check all that apply.
                                                 ❑ Contingent
       Fort Mill, SC 29708                       ❑ Unliquidated
      City              State      ZIP Code      ✔ Disputed
                                                 ❑
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ❑ Debtor 1 only                            ❑ An agreement you made (such as mortgage or secured car loan)
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ✔ Debtor 1 and Debtor 2 only
      ❑                                          ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ✔ Other (including a right to
                                                 ❑                                    Domestic: MSA (Non-Qualifying DSO)
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred                     Last 4 digits of account number

      Remarks: Marital Settlement Agreement payment (Non-Alimony, Non-Spousal Support, Non-Separate Maintenance). Ex-spouse refuses to turnover
               collected funds

      Add the dollar value of your entries in Column A on this page. Write that number here:                    $3,260.73
      If this is the last page of your form, add the dollar value totals from all pages.
      Write that number here:




Official Form 106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 4 of 16
             Case 25-01384-jd              Doc 27         Filed 04/25/25 Entered 04/28/25 09:44:39                                    Desc Main
                                                          Document      Page 5 of 67
Debtor 1        Jacqueline            Elizabeth               Ard                              Case number (if known) 25-01384-JD
Debtor 2        Terry                 Frank                   Nicola
                First Name            Middle Name             Last Name


                                                                                                       Column A               Column B                Column C
                Additional Page                                                                        Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                    that supports this      portion
                After listing any entries on this page, number them beginning with 2.3,                Do not deduct the
                followed by 2.4, and so forth.                                                         value of collateral.
                                                                                                                              claim                   If any

  2.6 Polly Nicola                               Describe the property that secures the claim:                  unknown                $2,356.94               $0.00
      Creditor’s Name
                                                 Komatsu: Northern Trust (2)
       2583 Lower Assembly Drive
      Number         Street
                                                 As of the date you file, the claim is: Check all that apply.
                                                 ❑ Contingent
       Fort Mill, SC 29708                       ❑ Unliquidated
      City              State      ZIP Code      ✔ Disputed
                                                 ❑
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ❑ Debtor 1 only                            ❑ An agreement you made (such as mortgage or secured car loan)
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ✔ Debtor 1 and Debtor 2 only
      ❑                                          ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ✔ Other (including a right to
                                                 ❑                                    Domestic: Non-Qualifying DSO
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred                     Last 4 digits of account number

      Remarks: Marital Settlement Agreement payment (Non-Alimony, Non-Spousal Support, Non-Separate Maintenance). Ex-spouse refuses to turnover
               collected funds
  2.7 Polly Nicola                               Describe the property that secures the claim:                  unknown                $1,242.06               $0.00
      Creditor’s Name
                                                 Komatsu: Joy Global
       2583 Lower Assembly Drive
      Number         Street
                                                 As of the date you file, the claim is: Check all that apply.
                                                 ❑ Contingent
       Fort Mill, SC 29708                       ❑ Unliquidated
      City              State      ZIP Code      ✔ Disputed
                                                 ❑
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ❑ Debtor 1 only                            ❑ An agreement you made (such as mortgage or secured car loan)
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ✔ Debtor 1 and Debtor 2 only
      ❑                                          ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ✔ Other (including a right to
                                                 ❑                                    Domestic: Non-Qualifying DSO
           another                                  offset)
      ❑ Check if this claim relates to a
        community debt
      Date debt was incurred                     Last 4 digits of account number

      Remarks: Marital Settlement Agreement payment (Non-Alimony, Non-Spousal Support, Non-Separate Maintenance). Ex-spouse refuses to turnover
               collected funds

      Add the dollar value of your entries in Column A on this page. Write that number here:                         $0.00
      If this is the last page of your form, add the dollar value totals from all pages.
      Write that number here:




Official Form 106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 5 of 16
             Case 25-01384-jd              Doc 27         Filed 04/25/25 Entered 04/28/25 09:44:39                                    Desc Main
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Debtor 1        Jacqueline            Elizabeth               Ard                              Case number (if known) 25-01384-JD
Debtor 2        Terry                 Frank                   Nicola
                First Name            Middle Name             Last Name


                                                                                                       Column A               Column B                Column C
                Additional Page                                                                        Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                    that supports this      portion
                After listing any entries on this page, number them beginning with 2.3,                Do not deduct the
                followed by 2.4, and so forth.                                                         value of collateral.
                                                                                                                              claim                   If any

  2.8 The Spa on Port Royal Sound                Describe the property that secures the claim:                  $47,933.53          $132,450.00                $0.00
      Creditor’s Name
                                                 PIN R510 005 000 008B 3218
       Board of Directors
                                                 239 Beach City Rd Unit 3218 Hilton Head Island, SC 29926-4718
       239 Beach City Rd                         As of the date you file, the claim is: Check all that apply.
      Number         Street
                                                 ❑ Contingent
       Hilton Head, SC 29926-4707                ❑ Unliquidated
      City              State      ZIP Code      ✔ Disputed
                                                 ❑
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                          ❑ An agreement you made (such as mortgage or secured car loan)
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only               ✔ Judgment lien from a lawsuit
                                                 ❑
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred     09/25/2023      Last 4 digits of account number         1    8   1    8

  2.9 Title Max Corporation                      Describe the property that secures the claim:                   $4,565.00             $5,736.00               $0.00
      Creditor’s Name
                                                 2017 Hyundai Elantra
       15 Bull St
                                                 Needs Radiator and Transmission Work
      Number         Street
                                                 As of the date you file, the claim is: Check all that apply.
                                                 ❑ Contingent
       Savannah, GA 31401-2685
                                                 ❑ Unliquidated
      City              State      ZIP Code      ✔ Disputed
                                                 ❑
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                          ❑ An agreement you made (such as mortgage or secured car loan)
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only               ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ✔ Other (including a right to
                                                 ❑                                    Title Loan
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred     09/01/2024      Last 4 digits of account number

      Add the dollar value of your entries in Column A on this page. Write that number here:                 $52,498.53
      If this is the last page of your form, add the dollar value totals from all pages.
      Write that number here:




Official Form 106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 6 of 16
             Case 25-01384-jd              Doc 27         Filed 04/25/25 Entered 04/28/25 09:44:39                                    Desc Main
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Debtor 1         Jacqueline           Elizabeth               Ard                                Case number (if known) 25-01384-JD
Debtor 2         Terry                Frank                   Nicola
                First Name            Middle Name             Last Name


                                                                                                       Column A               Column B                Column C
                Additional Page                                                                        Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                    that supports this      portion
                After listing any entries on this page, number them beginning with 2.3,                Do not deduct the
                followed by 2.4, and so forth.                                                         value of collateral.
                                                                                                                              claim                   If any

2.10 West-Aircomm FCU                           Describe the property that secures the claim:                  $11,243.32            $10,904.00           $339.32
      Creditor’s Name
                                                 2018 Jeep Grand Cherokee
      c/o Weltman, Weinberg & Reis
                                                 Needs Transmission Work
      Co LPA
                                                As of the date you file, the claim is: Check all that apply.
      5990 West Creek Road Suite 200
      Number         Street                     ❑ Contingent
                                                ❑ Unliquidated
      Independence, OH 44131                    ✔ Disputed
                                                ❑
      City               State     ZIP Code
      Who owes the debt? Check one.             Nature of lien. Check all that apply.
      ❑ Debtor 1 only                           ✔ An agreement you made (such as mortgage or secured car loan)
                                                ❑
      ✔ Debtor 2 only
      ❑                                         ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only              ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and         ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred     09/21/2018     Last 4 digits of account number         6    2     0    2

2.11 Westlake Financial                         Describe the property that secures the claim:                  $35,584.44             $7,475.00        $28,109.44
      Creditor’s Name
                                                 2020 Ram Truck ProMaster
      2 Equity Way Ste 200
                                                 Needs Transmission Work Commercial Use
      Number         Street
                                                As of the date you file, the claim is: Check all that apply.
                                                ❑ Contingent
      Westlake, OH 44145-1045
                                                ❑ Unliquidated
      City               State     ZIP Code
                                                ❑ Disputed
      Who owes the debt? Check one.             Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                         ✔ An agreement you made (such as mortgage or secured car loan)
                                                ❑
      ❑ Debtor 2 only                           ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only              ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and         ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred     03/28/2023     Last 4 digits of account number         7    0     8    3

      Add the dollar value of your entries in Column A on this page. Write that number here:                   $46,827.76
      If this is the last page of your form, add the dollar value totals from all pages.
      Write that number here:




Official Form 106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 7 of 16
             Case 25-01384-jd              Doc 27         Filed 04/25/25 Entered 04/28/25 09:44:39                                    Desc Main
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Debtor 1        Jacqueline            Elizabeth               Ard                              Case number (if known) 25-01384-JD
Debtor 2        Terry                 Frank                   Nicola
                First Name            Middle Name             Last Name


                                                                                                       Column A               Column B                Column C
                Additional Page                                                                        Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                    that supports this      portion
                After listing any entries on this page, number them beginning with 2.3,                Do not deduct the
                followed by 2.4, and so forth.                                                         value of collateral.
                                                                                                                              claim                   If any

 2.12 Zeidmans Jewelry                           Describe the property that secures the claim:                    $990.00              $3,500.00               $0.00
      Creditor’s Name
       Thomas LaBret and/or Current              Earrings Ladies Hoop diamonds
       President
                                                 As of the date you file, the claim is: Check all that apply.
       24810 Evergreen Road                      ❑ Contingent
      Number         Street
                                                 ❑ Unliquidated
       Southfield, MI 48075                      ❑ Disputed
      City              State      ZIP Code
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                          ❑ An agreement you made (such as mortgage or secured car loan)
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only               ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred     07/29/2024      Last 4 digits of account number         6    2   1    2

      Remarks: Refused to turnover property of the Estate
 2.13 Zeidmans Jewelry                           Describe the property that secures the claim:                    $172.50                $700.00               $0.00
      Creditor’s Name
       Thomas LaBret and/or Current              Ring Men Wedding Ring
       President
                                                 As of the date you file, the claim is: Check all that apply.
       24810 Evergreen Road                      ❑ Contingent
      Number         Street
                                                 ❑ Unliquidated
       Southfield, MI 48075                      ❑ Disputed
      City              State      ZIP Code
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ❑ Debtor 1 only                            ✔ An agreement you made (such as mortgage or secured car loan)
                                                 ❑
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ✔ Debtor 1 and Debtor 2 only
      ❑                                          ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred     08/08/2024      Last 4 digits of account number         8    3   0    8

      Add the dollar value of your entries in Column A on this page. Write that number here:                    $1,162.50
      If this is the last page of your form, add the dollar value totals from all pages.
      Write that number here:




Official Form 106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 8 of 16
             Case 25-01384-jd              Doc 27         Filed 04/25/25 Entered 04/28/25 09:44:39                                    Desc Main
                                                          Document      Page 9 of 67
Debtor 1        Jacqueline            Elizabeth               Ard                              Case number (if known) 25-01384-JD
Debtor 2        Terry                 Frank                   Nicola
                First Name            Middle Name             Last Name


                                                                                                       Column A               Column B                Column C
                Additional Page                                                                        Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                    that supports this      portion
                After listing any entries on this page, number them beginning with 2.3,                Do not deduct the
                followed by 2.4, and so forth.                                                         value of collateral.
                                                                                                                              claim                   If any

 2.14 Zeidmans Jewelry                           Describe the property that secures the claim:                    $172.50                $600.00               $0.00
      Creditor’s Name
       Thomas LaBret and/or Current              Earrings Ladies
       President
                                                 As of the date you file, the claim is: Check all that apply.
       24810 Evergreen Road                      ❑ Contingent
      Number         Street
                                                 ❑ Unliquidated
       Southfield, MI 48075                      ❑ Disputed
      City              State      ZIP Code
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ❑ Debtor 1 only                            ✔ An agreement you made (such as mortgage or secured car loan)
                                                 ❑
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ✔ Debtor 1 and Debtor 2 only
      ❑                                          ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred     08/09/2024      Last 4 digits of account number         8    7   0    0

      Remarks: Refused to Turnover Property of the Estate
 2.15 Zeidmans Jewelry                           Describe the property that secures the claim:                    $308.75              $1,200.00               $0.00
      Creditor’s Name
       Thomas LaBret and/or Current              Bracelet Ladies
       President
                                                 As of the date you file, the claim is: Check all that apply.
       24810 Evergreen Road                      ❑ Contingent
      Number         Street
                                                 ❑ Unliquidated
       Southfield, MI 48075                      ❑ Disputed
      City              State      ZIP Code
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                          ✔ An agreement you made (such as mortgage or secured car loan)
                                                 ❑
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only               ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred     08/09/2024      Last 4 digits of account number         8    7   0    1

      Remarks: Refused to Turnover Property of the Estate

      Add the dollar value of your entries in Column A on this page. Write that number here:                      $481.25
      If this is the last page of your form, add the dollar value totals from all pages.
      Write that number here:




Official Form 106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 9 of 16
             Case 25-01384-jd              Doc 27        Filed 04/25/25 Entered 04/28/25 09:44:39                                     Desc Main
                                                         Document     Page 10 of 67
Debtor 1        Jacqueline            Elizabeth               Ard                              Case number (if known) 25-01384-JD
Debtor 2        Terry                 Frank                   Nicola
                First Name            Middle Name             Last Name


                                                                                                       Column A               Column B                 Column C
                Additional Page                                                                        Amount of claim        Value of collateral      Unsecured
   Part 1:                                                                                                                    that supports this       portion
                After listing any entries on this page, number them beginning with 2.3,                Do not deduct the
                followed by 2.4, and so forth.                                                         value of collateral.
                                                                                                                              claim                    If any

 2.16 Zeidmans Jewelry                           Describe the property that secures the claim:                    $554.00              $1,800.00                $0.00
      Creditor’s Name
       Thomas LaBret and/or Current              Bracelet Ladies
       President
                                                 As of the date you file, the claim is: Check all that apply.
       24810 Evergreen Road                      ❑ Contingent
      Number         Street
                                                 ❑ Unliquidated
       Southfield, MI 48075                      ❑ Disputed
      City              State      ZIP Code
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                          ✔ An agreement you made (such as mortgage or secured car loan)
                                                 ❑
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only               ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred     08/10/2024      Last 4 digits of account number         8    7   7    5

      Remarks: Refuse to Turnover Property of the Estate
 2.17 Zeidmans Jewelry                           Describe the property that secures the claim:                    $336.00              $1,500.00                $0.00
      Creditor’s Name
       Thomas LaBret and/or Current              Bracelet Ladies
       President
                                                 As of the date you file, the claim is: Check all that apply.
       24810 Evergreen Road                      ❑ Contingent
      Number         Street
                                                 ❑ Unliquidated
       Southfield, MI 48075                      ❑ Disputed
      City              State      ZIP Code
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                          ✔ An agreement you made (such as mortgage or secured car loan)
                                                 ❑
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only               ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred     08/10/2024      Last 4 digits of account number         8    7   7    6

      Add the dollar value of your entries in Column A on this page. Write that number here:                      $890.00
      If this is the last page of your form, add the dollar value totals from all pages.
      Write that number here:




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Debtor 1        Jacqueline            Elizabeth               Ard                              Case number (if known) 25-01384-JD
Debtor 2        Terry                 Frank                   Nicola
                First Name            Middle Name             Last Name


                                                                                                       Column A               Column B                 Column C
                Additional Page                                                                        Amount of claim        Value of collateral      Unsecured
   Part 1:                                                                                                                    that supports this       portion
                After listing any entries on this page, number them beginning with 2.3,                Do not deduct the
                followed by 2.4, and so forth.                                                         value of collateral.
                                                                                                                              claim                    If any

 2.18 Zeidmans Jewelry                           Describe the property that secures the claim:                    $663.00              $2,500.00                $0.00
      Creditor’s Name
       Thomas LaBret and/or Current              Gold Herring Bone Heirloom Necklace
       President
                                                 As of the date you file, the claim is: Check all that apply.
       24810 Evergreen Road                      ❑ Contingent
      Number         Street
                                                 ❑ Unliquidated
       Southfield, MI 48075                      ✔ Disputed
                                                 ❑
      City              State      ZIP Code
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ❑ Debtor 1 only                            ✔ An agreement you made (such as mortgage or secured car loan)
                                                 ❑
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ✔ Debtor 1 and Debtor 2 only
      ❑                                          ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred     08/30/2024      Last 4 digits of account number         2    4   5    0

      Remarks: Refuse to Turnover Property of the Estate
 2.19 Zeidmans Jewelry                           Describe the property that secures the claim:                  $3,344.40            $23,740.00                 $0.00
      Creditor’s Name
       Thomas LaBret and/or Current              Ladies Custom made Wedding Ring
       President
                                                 As of the date you file, the claim is: Check all that apply.
       24810 Evergreen Road                      ❑ Contingent
      Number         Street
                                                 ❑ Unliquidated
       Southfield, MI 48075                      ❑ Disputed
      City              State      ZIP Code
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                          ✔ An agreement you made (such as mortgage or secured car loan)
                                                 ❑
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only               ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred     11/30/2024      Last 4 digits of account number         2    4   5    1

      Remarks: Refuse to Turnover Property of the Estate

      Add the dollar value of your entries in Column A on this page. Write that number here:                    $4,007.40
      If this is the last page of your form, add the dollar value totals from all pages.
                                                                                                            $387,112.82
      Write that number here:




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Debtor 1        Jacqueline            Elizabeth             Ard                             Case number (if known) 25-01384-JD
Debtor 2        Terry                 Frank                 Nicola
               First Name            Middle Name            Last Name

   Part 2:     List Others to Be Notified for a Debt That You Already Listed

 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
 agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly,
 if you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional
 persons to be notified for any debts in Part 1, do not fill out or submit this page.
   1. Bromley Law Firm LLC
                                                                                  On which line in Part 1 did you enter the creditor? 2.1
      Name
                                                                                  Last 4 digits of account number
       Evan K. Bromley
       211 Goethe Rd Ste B
      Number            Street
       Bluffton, SC 29910-6014
      City                                State              ZIP Code
   2. Julie A. Franklin, Esq
                                                                                  On which line in Part 1 did you enter the creditor? 2.1
      Name
                                                                                  Last 4 digits of account number
       Po Box 2976
      Number            Street


       Bluffton, SC 29910-2976
      City                                State              ZIP Code
   3. Jones, Simpson, and Newton PA
                                                                                  On which line in Part 1 did you enter the creditor? 2.2
      Name
                                                                                  Last 4 digits of account number
       Attn: Wm Weston J Newton
       7 Plantation Park Drive Suite 3
      Number            Street
       Bluffton, SC 29910
      City                                State              ZIP Code
   4. Nationstar Mortgage, LLC
                                                                                  On which line in Part 1 did you enter the creditor? 2.3
      Name
                                                                                  Last 4 digits of account number
       Attn: Bankruptcy Department
       PO Box 619096
      Number            Street
       Dallas, TX 75261-9741
      City                                State              ZIP Code
   5. Nationstar Mortgage, LLC
                                                                                  On which line in Part 1 did you enter the creditor? 2.3
      Name
                                                                                  Last 4 digits of account number       4    1   9    2
       James Page Bell Carrington Price & Gregg, LLC
       339 Heyward St, Second Floor
      Number            Street
       Columbia, SC 29201-4390
      City                                State              ZIP Code
   6. Taybron Law Firm LLC
                                                                                  On which line in Part 1 did you enter the creditor? 2.5
      Name
                                                                                  Last 4 digits of account number
       3399 Churchview Ave
      Number            Street


       Pittsburgh, PA 15227-4358
      City                                State              ZIP Code




Official Form 106D                       Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                page 12 of 16
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Debtor 1        Jacqueline         Elizabeth           Ard                         Case number (if known) 25-01384-JD
Debtor 2        Terry              Frank               Nicola
               First Name          Middle Name        Last Name

   Part 2:     List Others to Be Notified for a Debt That You Already Listed - Additional Page
   7. Morgan Lewis & Bockius LLP
                                                                          On which line in Part 1 did you enter the creditor? 2.5
      Name
                                                                          Last 4 digits of account number
       Attn: Matt Hawes
       One Oxford Centre, Thirty-Second FLR
      Number            Street
       Pittsburgh, PA 15219-6401
      City                             State           ZIP Code
   8. Komatsu Benefit Dept
                                                                          On which line in Part 1 did you enter the creditor? 2.5
      Name
                                                                          Last 4 digits of account number
       Mark Harder
       401 E Greenfield Ave
      Number            Street
       Milwaukee, WI 53204-2941
      City                             State           ZIP Code
   9. Taybron Law Firm LLC
                                                                          On which line in Part 1 did you enter the creditor? 2.6
      Name
                                                                          Last 4 digits of account number
       3399 Churchview Ave
      Number            Street


       Pittsburgh, PA 15227-4358
      City                             State           ZIP Code
  10. Komatsu Benefit Dept
                                                                          On which line in Part 1 did you enter the creditor? 2.6
      Name
                                                                          Last 4 digits of account number
       Mark Harder
       401 E Greenfield Ave
      Number            Street
       Milwaukee, WI 53204-2941
      City                             State           ZIP Code
  11. Morgan Lewis & Bockius LLP
                                                                          On which line in Part 1 did you enter the creditor? 2.6
      Name
                                                                          Last 4 digits of account number
       Attn: Matt Hawes
       One Oxford Centre, Thirty-Second FLR
      Number            Street
       Pittsburgh, PA 15219-6401
      City                             State           ZIP Code
  12. Taybron Law Firm LLC
                                                                          On which line in Part 1 did you enter the creditor? 2.7
      Name
                                                                          Last 4 digits of account number
       3399 Churchview Ave
      Number            Street


       Pittsburgh, PA 15227-4358
      City                             State           ZIP Code


Official Form 106D                   Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                            page 13 of 16
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Debtor 1        Jacqueline         Elizabeth            Ard                         Case number (if known) 25-01384-JD
Debtor 2        Terry              Frank                Nicola
               First Name          Middle Name         Last Name

   Part 2:     List Others to Be Notified for a Debt That You Already Listed - Additional Page
  13. Komatsu Benefit Dept
                                                                           On which line in Part 1 did you enter the creditor? 2.7
      Name
                                                                           Last 4 digits of account number
       Mark Harder
       401 E Greenfield Ave
      Number            Street
       Milwaukee, WI 53204-2941
      City                             State            ZIP Code
  14. Morgan Lewis & Bockius LLP
                                                                           On which line in Part 1 did you enter the creditor? 2.7
      Name
                                                                           Last 4 digits of account number
       Attn: Matt Hawes
       One Oxford Centre, Thirty-Second FLR
      Number            Street
       Pittsburgh, PA 15219-6401
      City                             State            ZIP Code
  15. Law Office of Scott M. Wild LLC
                                                                           On which line in Part 1 did you enter the creditor? 2.8
      Name
                                                                           Last 4 digits of account number
       Scott M. Wild
       37 New Orleans Road Suite F
      Number            Street
       Hilton Head Island, SC 29928
      City                             State            ZIP Code
  16. Mutterer Law Firm, LLC
                                                                           On which line in Part 1 did you enter the creditor? 2.8
      Name
                                                                           Last 4 digits of account number
       Jannine M. Mutterer, Esq
       5 Red Cedar Street Suite 102
      Number            Street
       Bluffton, SC 29910
      City                             State            ZIP Code
  17. West-Aircomm FCU
                                                                           On which line in Part 1 did you enter the creditor? 2.10
      Name
                                                                           Last 4 digits of account number
       485 Buffalo St POB 568
      Number            Street


       Beaver, PA 15009
      City                             State            ZIP Code
  18. Best Law, PA
                                                                           On which line in Part 1 did you enter the creditor? 2.12
      Name
                                                                           Last 4 digits of account number
       Tara E. Nauful
       P.O. Box 2374
      Number            Street
       Mount Pleasant, SC 29465
      City                             State            ZIP Code




Official Form 106D                    Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                            page 14 of 16
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Debtor 1        Jacqueline        Elizabeth           Ard                         Case number (if known) 25-01384-JD
Debtor 2        Terry             Frank               Nicola
               First Name         Middle Name        Last Name

   Part 2:     List Others to Be Notified for a Debt That You Already Listed - Additional Page
  19. Best Law, PA
                                                                         On which line in Part 1 did you enter the creditor? 2.13
      Name
                                                                         Last 4 digits of account number
       Tara E. Nauful
       P.O. Box 2374
      Number            Street
       Mount Pleasant, SC 29465
      City                            State           ZIP Code
  20. Best Law, PA
                                                                         On which line in Part 1 did you enter the creditor? 2.14
      Name
                                                                         Last 4 digits of account number
       Tara E. Nauful
       P.O. Box 2374
      Number            Street
       Mount Pleasant, SC 29465
      City                            State           ZIP Code
  21. Best Law, PA
                                                                         On which line in Part 1 did you enter the creditor? 2.15
      Name
                                                                         Last 4 digits of account number
       Tara E. Nauful
       P.O. Box 2374
      Number            Street
       Mount Pleasant, SC 29465
      City                            State           ZIP Code
  22. Best Law, PA
                                                                         On which line in Part 1 did you enter the creditor? 2.16
      Name
                                                                         Last 4 digits of account number
       Tara E. Nauful
       P.O. Box 2374
      Number            Street
       Mount Pleasant, SC 29465
      City                            State           ZIP Code
  23. Best Law, PA
                                                                         On which line in Part 1 did you enter the creditor? 2.17
      Name
                                                                         Last 4 digits of account number
       Tara E. Nauful
       P.O. Box 2374
      Number            Street
       Mount Pleasant, SC 29465
      City                            State           ZIP Code
  24. Best Law, PA
                                                                         On which line in Part 1 did you enter the creditor? 2.18
      Name
                                                                         Last 4 digits of account number
       Tara E. Nauful
       P.O. Box 2374
      Number            Street
       Mount Pleasant, SC 29465
      City                            State           ZIP Code




Official Form 106D                  Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                        page 15 of 16
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Debtor 1        Jacqueline        Elizabeth           Ard                         Case number (if known) 25-01384-JD
Debtor 2        Terry             Frank               Nicola
               First Name         Middle Name        Last Name

   Part 2:     List Others to Be Notified for a Debt That You Already Listed - Additional Page
  25. Best Law, PA
                                                                         On which line in Part 1 did you enter the creditor? 2.19
      Name
                                                                         Last 4 digits of account number
       Tara E. Nauful
       P.O. Box 2374
      Number            Street
       Mount Pleasant, SC 29465
      City                            State           ZIP Code




Official Form 106D                  Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                        page 16 of 16
                Case 25-01384-jd                   Doc 27       Filed 04/25/25 Entered 04/28/25 09:44:39                                       Desc Main
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 Fill in this information to identify your case:

  Debtor 1            Jacqueline              Elizabeth                Ard
                     First Name              Middle Name              Last Name

  Debtor 2            Terry                   Frank                    Nicola
  (Spouse, if filing) First Name             Middle Name              Last Name

  United States Bankruptcy Court for the: District of South Carolina

  Case number        25-01384-JD
  (if known)                                                                                                                                   ❑ Check if this is an
                                                                                                                                                    amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official
Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured
claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out,
number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case
number (if known).

      Part 1:      List All of Your PRIORITY Unsecured Claims

 1.     Do any creditors have priority unsecured claims against you?
        ❑ No. Go to Part 2.
        ✔ Yes.
        ❑
 2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
        claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
        amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims,
        fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

                                                                                                                             Total claim      Priority        Nonpriority
                                                                                                                                              amount          amount
  2.1 Beaufort Co Treasurer                              Last 4 digits of account number           3    2    1    8            $3,702.32        unknown         $3,702.32
         Priority Creditor’s Name
                                                         When was the debt incurred?                   01/15/2025
         Po Box Drawer 487
         Number        Street

                                                         As of the date you file, the claim is: Check all that apply.
         Beaufort, SC 29901                              ❑ Contingent
         City              State           ZIP Code      ❑ Unliquidated
                                                         ❑ Disputed
         Who incurred the debt? Check one.
         ❑ Debtor 1 only                                 Type of PRIORITY unsecured claim:
         ❑ Debtor 2 only                                 ❑ Domestic support obligations
         ✔ Debtor 1 and Debtor 2 only
         ❑                                               ❑ Taxes and certain other debts you owe the government
         ❑ At least one of the debtors and another       ❑ Claims for death or personal injury while you were intoxicated
         ❑ Check if this claim is for a                  ✔ Other. Specify Real Estate Taxes
                                                         ❑
            community debt

         Is the claim subject to offset?
         ✔ No
         ❑
         ❑ Yes
         Remarks: PIN: R510-005-000-008B-3218




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 50
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Debtor 1        Jacqueline              Elizabeth             Ard                               Case number (if known) 25-01384-JD
Debtor 2        Terry                   Frank                 Nicola
               First Name               Middle Name          Last Name

   Part 1:      Your PRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.            Total claim     Priority     Nonpriority
                                                                                                                                   amount       amount
  2.2 Beaufort Co Treasurer                         Last 4 digits of account number         1    1   0    6            $2,021.07    unknown      $2,021.07
      Priority Creditor’s Name
                                                    When was the debt incurred?                 01/15/2025
       PO Box Drawer 487
      Number           Street

                                                    As of the date you file, the claim is: Check all that apply.
       Beaufort, SC 29901                           ❑ Contingent
      City                State         ZIP Code    ❑ Unliquidated
                                                    ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                               Type of PRIORITY unsecured claim:
      ❑ Debtor 2 only                               ❑ Domestic support obligations
      ✔ Debtor 1 and Debtor 2 only
      ❑                                             ❑ Taxes and certain other debts you owe the government
      ❑ At least one of the debtors and another     ❑ Claims for death or personal injury while you were intoxicated
      ❑ Check if this claim is for a                ✔ Other. Specify Real Estate Taxes
                                                    ❑
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: PIN: R600-031-000-0266-1106
  2.3 Beaufort Co Treasurer                         Last 4 digits of account number         4    4   0    5            $3,761.77    unknown      $3,761.77
      Priority Creditor’s Name
                                                    When was the debt incurred?                 01/15/2025
       P.O. Box Drawer 487
      Number           Street

                                                    As of the date you file, the claim is: Check all that apply.
       Beaufort, SC 29901                           ❑ Contingent
      City                State         ZIP Code    ❑ Unliquidated
                                                    ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                               Type of PRIORITY unsecured claim:
      ❑ Debtor 2 only                               ❑ Domestic support obligations
      ✔ Debtor 1 and Debtor 2 only
      ❑                                             ❑ Taxes and certain other debts you owe the government
      ❑ At least one of the debtors and another     ❑ Claims for death or personal injury while you were intoxicated
      ❑ Check if this claim is for a                ✔ Other. Specify Real Estate Taxes
                                                    ❑
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: PIN: R510-012-000-025B-4405



Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                         page 2 of 50
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Debtor 1        Jacqueline              Elizabeth             Ard                               Case number (if known) 25-01384-JD
Debtor 2        Terry                   Frank                 Nicola
               First Name               Middle Name          Last Name

   Part 1:      Your PRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.            Total claim   Priority     Nonpriority
                                                                                                                                 amount       amount
  2.4 City of Detroit Property Tax                  Last 4 digits of account number         7    3   7    1            $952.72    unknown        $952.72
      Priority Creditor’s Name
                                                    When was the debt incurred?
       Property Tax
       PO Box 33193
      Number           Street                       As of the date you file, the claim is: Check all that apply.

       Detroit, MI 48232                            ❑ Contingent
      City                State         ZIP Code    ❑ Unliquidated
                                                    ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                             Type of PRIORITY unsecured claim:
      ❑ Debtor 2 only                               ❑ Domestic support obligations
      ❑ Debtor 1 and Debtor 2 only                  ❑ Taxes and certain other debts you owe the government
      ❑ At least one of the debtors and another     ❑ Claims for death or personal injury while you were intoxicated
      ❑ Check if this claim is for a                ✔ Other. Specify Real Estate Taxes
                                                    ❑
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  2.5 City of Detroit Property Tax                  Last 4 digits of account number         1    1   0    9            $846.53    unknown        $846.53
      Priority Creditor’s Name
                                                    When was the debt incurred?
       Property Tax
       PO Box 33193
      Number           Street                       As of the date you file, the claim is: Check all that apply.

       Detroit, MI 48232                            ❑ Contingent
      City                State         ZIP Code    ❑ Unliquidated
                                                    ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                             Type of PRIORITY unsecured claim:
      ❑ Debtor 2 only                               ❑ Domestic support obligations
      ❑ Debtor 1 and Debtor 2 only                  ❑ Taxes and certain other debts you owe the government
      ❑ At least one of the debtors and another     ❑ Claims for death or personal injury while you were intoxicated
      ❑ Check if this claim is for a                ✔ Other. Specify Real Estate Taxes
                                                    ❑
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Jacqueline              Elizabeth             Ard                               Case number (if known) 25-01384-JD
Debtor 2        Terry                   Frank                 Nicola
               First Name               Middle Name          Last Name

   Part 1:      Your PRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.            Total claim     Priority     Nonpriority
                                                                                                                                   amount       amount
  2.6 City of Detroit Water and                     Last 4 digits of account number         0    3   0    1            $1,383.51    unknown      $1,383.51
       Sewerage Dept
                                                    When was the debt incurred?
      Priority Creditor’s Name
       735 Randolph St
      Number           Street
                                                    As of the date you file, the claim is: Check all that apply.
                                                    ❑ Contingent
       Detroit, MI 48226-2830                       ❑ Unliquidated
      City                State         ZIP Code    ✔ Disputed
                                                    ❑
      Who incurred the debt? Check one.             Type of PRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                             ❑ Domestic support obligations
      ❑ Debtor 2 only                               ❑ Taxes and certain other debts you owe the government
      ❑ Debtor 1 and Debtor 2 only                  ❑ Claims for death or personal injury while you were intoxicated
      ❑ At least one of the debtors and another     ✔ Other. Specify Utilities
                                                    ❑
      ❑ Check if this claim is for a
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  2.7 City of Detroit Water and                     Last 4 digits of account number         3    3   0    1            $1,782.38    unknown      $1,782.38
       Sewerage Dept
                                                    When was the debt incurred?
      Priority Creditor’s Name
       735 Randolph St
      Number           Street
                                                    As of the date you file, the claim is: Check all that apply.
                                                    ❑ Contingent
       Detroit, MI 48226-2830                       ❑ Unliquidated
      City                State         ZIP Code    ✔ Disputed
                                                    ❑
      Who incurred the debt? Check one.             Type of PRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                             ❑ Domestic support obligations
      ❑ Debtor 2 only                               ❑ Taxes and certain other debts you owe the government
      ❑ Debtor 1 and Debtor 2 only                  ❑ Claims for death or personal injury while you were intoxicated
      ❑ At least one of the debtors and another     ✔ Other. Specify Utilities
                                                    ❑
      ❑ Check if this claim is for a
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                 Nicola
               First Name               Middle Name          Last Name

   Part 1:      Your PRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.            Total claim   Priority      Nonpriority
                                                                                                                                 amount        amount
  2.8 Consumer Energy Company                       Last 4 digits of account number         8    5   2    5            $347.83       $347.83        $0.00
      Priority Creditor’s Name
                                                    When was the debt incurred?
       Attn: Legal Dept
       One Energy Plaza Dr
      Number           Street                       As of the date you file, the claim is: Check all that apply.

       Jackson, MI 49201-2357                       ❑ Contingent
      City                State         ZIP Code    ❑ Unliquidated
                                                    ✔ Disputed
                                                    ❑
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                             Type of PRIORITY unsecured claim:
      ❑ Debtor 2 only                               ❑ Domestic support obligations
      ❑ Debtor 1 and Debtor 2 only                  ❑ Taxes and certain other debts you owe the government
      ❑ At least one of the debtors and another     ❑ Claims for death or personal injury while you were intoxicated
      ❑ Check if this claim is for a                ✔ Other. Specify Utilities
                                                    ❑
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: Utility Services
  2.9 County of Allegheny Treasurer                 Last 4 digits of account number        P     1   4    6            $116.36    unknown         $116.36
      Priority Creditor’s Name
                                                    When was the debt incurred?
       Room 108 Courthouse
       436 Grant St
      Number           Street                       As of the date you file, the claim is: Check all that apply.

       Pittsburgh, PA 15219                         ❑ Contingent
      City                State         ZIP Code    ❑ Unliquidated
                                                    ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                             Type of PRIORITY unsecured claim:
      ❑ Debtor 2 only                               ❑ Domestic support obligations
      ❑ Debtor 1 and Debtor 2 only                  ❑ Taxes and certain other debts you owe the government
      ❑ At least one of the debtors and another     ❑ Claims for death or personal injury while you were intoxicated
      ❑ Check if this claim is for a                ✔ Other. Specify Real Estate Taxes
                                                    ❑
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                 Nicola
               First Name               Middle Name          Last Name

   Part 1:      Your PRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.            Total claim     Priority     Nonpriority
                                                                                                                                   amount       amount
 2.10 East Pittsburgh Borough                       Last 4 digits of account number        P     1   4    6             $363.96     unknown        $363.96
      Priority Creditor’s Name
                                                    When was the debt incurred?
       813 Linden Ave
      Number           Street
                                                    As of the date you file, the claim is: Check all that apply.
       East Pittsburgh, PA 15112                    ❑ Contingent
      City                State         ZIP Code    ❑ Unliquidated
                                                    ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                               Type of PRIORITY unsecured claim:
      ❑ Debtor 2 only                               ❑ Domestic support obligations
      ✔ Debtor 1 and Debtor 2 only
      ❑                                             ❑ Taxes and certain other debts you owe the government
      ❑ At least one of the debtors and another     ❑ Claims for death or personal injury while you were intoxicated
      ❑ Check if this claim is for a                ✔ Other. Specify Real Estate Taxes
                                                    ❑
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: 513 Main
 2.11 Jordan Tax Service                            Last 4 digits of account number        P     1   4    6            $1,179.46    unknown      $1,179.46
      Priority Creditor’s Name
                                                    When was the debt incurred?
       102 Rahway Rd
      Number           Street
                                                    As of the date you file, the claim is: Check all that apply.
       McMurray, PA 15317                           ❑ Contingent
      City                State         ZIP Code    ❑ Unliquidated
                                                    ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                               Type of PRIORITY unsecured claim:
      ❑ Debtor 2 only                               ❑ Domestic support obligations
      ✔ Debtor 1 and Debtor 2 only
      ❑                                             ❑ Taxes and certain other debts you owe the government
      ❑ At least one of the debtors and another     ❑ Claims for death or personal injury while you were intoxicated
      ❑ Check if this claim is for a                ✔ Other. Specify Real Estate Taxes
                                                    ❑
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                 Nicola
               First Name               Middle Name          Last Name

   Part 1:      Your PRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.            Total claim     Priority     Nonpriority
                                                                                                                                   amount       amount
 2.12 Lincoln Township                              Last 4 digits of account number         7    0   0    1            $1,638.11    unknown      $1,638.11
      Priority Creditor’s Name
                                                    When was the debt incurred?
       P.O. Box 239
      Number           Street
                                                    As of the date you file, the claim is: Check all that apply.
       Lake George, MI 48633                        ❑ Contingent
      City                State         ZIP Code    ❑ Unliquidated
                                                    ✔ Disputed
                                                    ❑
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                               Type of PRIORITY unsecured claim:
      ❑ Debtor 2 only                               ❑ Domestic support obligations
      ✔ Debtor 1 and Debtor 2 only
      ❑                                             ❑ Taxes and certain other debts you owe the government
      ❑ At least one of the debtors and another     ❑ Claims for death or personal injury while you were intoxicated
      ❑ Check if this claim is for a                ✔ Other. Specify Real Estate Taxes
                                                    ❑
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 2.13 Lincoln Township                              Last 4 digits of account number         1    6   0    0            $1,711.02    unknown      $1,711.02
      Priority Creditor’s Name
                                                    When was the debt incurred?
       P.O. Box 239
      Number           Street
                                                    As of the date you file, the claim is: Check all that apply.
       Lake George, MI 48633                        ❑ Contingent
      City                State         ZIP Code    ❑ Unliquidated
                                                    ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                               Type of PRIORITY unsecured claim:
      ❑ Debtor 2 only                               ❑ Domestic support obligations
      ✔ Debtor 1 and Debtor 2 only
      ❑                                             ❑ Taxes and certain other debts you owe the government
      ❑ At least one of the debtors and another     ❑ Claims for death or personal injury while you were intoxicated
      ❑ Check if this claim is for a                ✔ Other. Specify Real Estate Taxes
                                                    ❑
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: 5154 Oak Run




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Debtor 2        Terry                   Frank                 Nicola
               First Name               Middle Name          Last Name

   Part 1:      Your PRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.            Total claim    Priority     Nonpriority
                                                                                                                                  amount       amount
 2.14 Pittsburgh Water                              Last 4 digits of account number        M     A    I   N            unknown     unknown      unknown
      Priority Creditor’s Name
                                                    When was the debt incurred?                 03/23/2019
       Penn Liberty Plaza I
       1200 Penn Avenue
      Number           Street                       As of the date you file, the claim is: Check all that apply.
       Pittsburgh, PA 15222                         ❑ Contingent
      City                State         ZIP Code    ❑ Unliquidated
                                                    ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                             Type of PRIORITY unsecured claim:
      ❑ Debtor 2 only                               ❑ Domestic support obligations
      ❑ Debtor 1 and Debtor 2 only                  ❑ Taxes and certain other debts you owe the government
      ❑ At least one of the debtors and another     ❑ Claims for death or personal injury while you were intoxicated
      ❑ Check if this claim is for a                ✔ Other. Specify Utilities
                                                    ❑
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 2.15 SC Department of Revenue                      Last 4 digits of account number         3    7   4    8               $0.00    unknown          $0.00
      Priority Creditor’s Name
                                                    When was the debt incurred?
       Office of General Counsel
       300A Outlet Point Blvd
      Number           Street                       As of the date you file, the claim is: Check all that apply.

       Columbia, SC 29210                           ❑ Contingent
      City                State         ZIP Code    ❑ Unliquidated
                                                    ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                               Type of PRIORITY unsecured claim:
      ❑ Debtor 2 only                               ❑ Domestic support obligations
      ✔ Debtor 1 and Debtor 2 only
      ❑                                             ✔ Taxes and certain other debts you owe the government
                                                    ❑
      ❑ At least one of the debtors and another     ❑ Claims for death or personal injury while you were intoxicated
      ❑ Check if this claim is for a                ❑ Other. Specify
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                 Nicola
               First Name               Middle Name          Last Name

   Part 1:      Your PRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.            Total claim     Priority     Nonpriority
                                                                                                                                   amount       amount
 2.16 Wayne Co Treasurer                            Last 4 digits of account number         7    3   7    1            $1,238.00    unknown      $1,238.00
      Priority Creditor’s Name
                                                    When was the debt incurred?
       400 Monroe 5th floor
      Number           Street
                                                    As of the date you file, the claim is: Check all that apply.
       Detroit, MI 48226                            ❑ Contingent
      City                State         ZIP Code    ❑ Unliquidated
                                                    ✔ Disputed
                                                    ❑
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                               Type of PRIORITY unsecured claim:
      ❑ Debtor 2 only                               ❑ Domestic support obligations
      ✔ Debtor 1 and Debtor 2 only
      ❑                                             ❑ Taxes and certain other debts you owe the government
      ❑ At least one of the debtors and another     ❑ Claims for death or personal injury while you were intoxicated
      ❑ Check if this claim is for a                ✔ Other. Specify Real Estate Taxes
                                                    ❑
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 2.17 Wayne Co Treasurer                            Last 4 digits of account number         1    1   0    9            $1,006.69    unknown      $1,006.69
      Priority Creditor’s Name
                                                    When was the debt incurred?
       400 Monroe 5th Floor
      Number           Street
                                                    As of the date you file, the claim is: Check all that apply.
       Detroit, MI 48266                            ❑ Contingent
      City                State         ZIP Code    ❑ Unliquidated
                                                    ✔ Disputed
                                                    ❑
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                               Type of PRIORITY unsecured claim:
      ❑ Debtor 2 only                               ❑ Domestic support obligations
      ✔ Debtor 1 and Debtor 2 only
      ❑                                             ❑ Taxes and certain other debts you owe the government
      ❑ At least one of the debtors and another     ❑ Claims for death or personal injury while you were intoxicated
      ❑ Check if this claim is for a                ✔ Other. Specify Real Estate Taxes
                                                    ❑
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1           Jacqueline              Elizabeth                Ard                               Case number (if known) 25-01384-JD
Debtor 2           Terry                   Frank                    Nicola
                  First Name               Middle Name             Last Name

      Part 2:      List All of Your NONPRIORITY Unsecured Claims

 3.     Do any creditors have nonpriority unsecured claims against you?
        ❑ No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        ✔ Yes
        ❑
 4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
        nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
        included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
        claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
  4.1 ADT LLC                                                             Last 4 digits of account number         9    0    9     4                            $1,599.69
        Nonpriority Creditor’s Name
                                                                          When was the debt incurred?                 10/01/2024
         PO Box 371878
        Number              Street
                                                                          As of the date you file, the claim is: Check all that apply.

         Pittsburgh, PA 15250-7878
                                                                          ❑ Contingent
                                                                          ❑ Unliquidated
        City                      State                   ZIP Code
                                                                          ✔ Disputed
                                                                          ❑
        Who incurred the debt? Check one.
        ✔ Debtor 1 only
        ❑
                                                                          Type of NONPRIORITY unsecured claim:

        ❑ Debtor 2 only                                                   ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only                                      ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                             priority claims
        ❑ At least one of the debtors and another                         ❑ Debts to pension or profit-sharing plans, and other similar debts
        ❑ Check if this claim is for a community debt                     ✔ Other. Specify Consumer debt
                                                                          ❑
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes
  4.2 Advantage Aviator                                                   Last 4 digits of account number         7    5    4     0                           $20,400.68
        Nonpriority Creditor’s Name
                                                                          When was the debt incurred?
         Attn Bankruptcy Department
         140 Coorperate Blvd
                                                                          As of the date you file, the claim is: Check all that apply.
        Number              Street
                                                                          ❑ Contingent
         Norfolk, VA 23502
                                                                          ❑ Unliquidated
        City                      State                   ZIP Code
                                                                          ❑ Disputed
        Who incurred the debt? Check one.
                                                                          Type of NONPRIORITY unsecured claim:
        ❑ Debtor 1 only
        ✔ Debtor 2 only                                                   ❑ Student loans
        ❑
                                                                          ❑ Obligations arising out of a separation agreement or divorce that you did not report as
        ❑ Debtor 1 and Debtor 2 only                                         priority claims
        ❑ At least one of the debtors and another                         ❑ Debts to pension or profit-sharing plans, and other similar debts
        ❑ Check if this claim is for a community debt                     ✔ Other. Specify Credit Card
                                                                          ❑
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
  4.3 American Express National Bank                               Last 4 digits of account number         4    0   0    2                         $42,254.50
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 07/1/2023
      Becket and Lee LLP
      P.O. Box 3001
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
      Malvern, PA 19355
                                                                   ❑ Unliquidated
                                                                   ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only
      ❑                                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.4 American Express National Bank                               Last 4 digits of account number         2    0   0    6                          $1,172.92
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 06/01/2024
      Becket and Lee LLP
      P.O. Box 3001
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
      Malvern, PA 19355
                                                                   ❑ Unliquidated
                                                                   ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only
      ❑                                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
  4.5 Armstrong Cable                                              Last 4 digits of account number         1    1   0    3                           $306.17
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       PO Box 37749
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   ❑ Contingent
       Philadelphia, PA 19101-5049
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code     ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only
      ❑                                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Ultilies
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.6 Associated Credit Services                                   Last 4 digits of account number         8    8   3    3                           $199.99
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       PO Box 1201
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   ❑ Contingent
       Tewksbury, MA 01876-0901
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
                                                                   Type of NONPRIORITY unsecured claim:
      ❑
      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Jacqueline              Elizabeth            Ard                              Case number (if known) 25-01384-JD
Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
  4.7 AT&T                                                         Last 4 digits of account number         8    8   2    7                           $606.86
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 09/15/2024
       PO Box 5014
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.

       Carol Stream, IL 60197-5014
                                                                   ❑ Contingent
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                   Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ At least one of the debtors and another
      ❑
                                                                      priority claims
                                                                   ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Utilities
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.8 AT&T                                                         Last 4 digits of account number         4    2   2    7                           $434.13
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       PO Box 5014
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   ❑ Contingent
       Carol Stream, IL 60197-5014
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ✔ At least one of the debtors and another
      ❑                                                            ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Utilities
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
  4.9 AWA Collections                                              Last 4 digits of account number                                                  unknown
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
      Santa Rosa Emergency
      PO Box 6605                                                  As of the date you file, the claim is: Check all that apply.
                                                                   ❑ Contingent
      Number             Street
      Orange, CA 92863                                             ❑ Unliquidated
      City                    State                   ZIP Code     ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                            ❑ Student loans
      ❑ Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Medical Bill
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.10 Barkley's Bank Navyist Reward                                 Last 4 digits of account number         2    1   6    4                         $12,856.00
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
      Attn Card Services Legal
      PO Box 8833
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
      Wilmington, DE 19899-8902
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code     ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only                                              ❑ Student loans
      ❑
                                                                   ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.11 Beaumont Medical Transport Services                          Last 4 digits of account number         3    2   7    2                           $397.50
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       950 West Maple St Ste. C
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   ❑ Contingent
       Troy, MI 48084
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code     ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
                                                                   Type of NONPRIORITY unsecured claim:
      ❑
      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Medical Bill
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.12 Capital One Auto Finance                                     Last 4 digits of account number         7    7   4    3                              $0.00
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       AIS Portfolio Services, LLC
       4515 N Santa Fe Ave. Dept. APS
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
       Oklahoma City, OK 73118
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code     ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑
                                                                   ❑ Student loans
      ❑ Debtor 2 only
                                                                   ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Consumer Debt
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.13 CitiBank Best Buy                                            Last 4 digits of account number         6    6   9    2                         $2,942.86
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 09/12/2024
       P.O. Box 790034
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.

       Saint Louis, MO 63179-0034                                  ❑ Contingent
      City                    State                   ZIP Code
                                                                   ❑ Unliquidated
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                            Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another
                                                                      priority claims
                                                                   ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.14 Comenity Caesars Rewards                                     Last 4 digits of account number         0    3   0    5                         $5,181.32
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       PO Box 650960
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   ❑ Contingent
       Dallas, TX 75265
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only
      ❑                                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.15 Coyne Oil                                                    Last 4 digits of account number         3    1   2    9                             $64.00
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       Attn: Rose
       513 W 5th St
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
       Clare, MI 48617-9405
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code     ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑
                                                                   ❑ Student loans
      ❑ Debtor 2 only
                                                                   ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Utilities
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.16 DTE Energy                                                   Last 4 digits of account number         8    9   1    4                         $1,271.71
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       Attention Legal Department
       PO Box 740786
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
       Cincinnati, OH 45274-0786
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code     ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑
                                                                   ❑ Student loans
      ❑ Debtor 2 only
                                                                   ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Utilities
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: Utility Services 15826 Appoline




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.17 DTE Energy                                                   Last 4 digits of account number         8    9   2    2                         $1,730.37
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       Attention Legal Department
       PO Box 740786
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
       Cincinnati, OH 45274-0786
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code     ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑
                                                                   ❑ Student loans
      ❑ Debtor 2 only
                                                                   ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Utilities
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.18 First Energy - Penn Power                                    Last 4 digits of account number         7    2   8    4                         $2,780.70
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 07/25/2024
       PO Box 16001
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.

       reading, PA                                                 ❑ Contingent
                                                                   ❑ Unliquidated
                                                                   ✔ Disputed
      City                    State                   ZIP Code
                                                                   ❑
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                              Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another
                                                                      priority claims
                                                                   ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.19 Fortiva Bobs Discount                                        Last 4 digits of account number         3    5   6    2                         $2,182.29
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       TBOM - ATLSA
       6 Concourse Parkway Second Floor
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
       Atlanta, GA 30328
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code     ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only                                              ❑ Student loans
      ❑
                                                                   ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.20 Go-Store It                                                  Last 4 digits of account number         1    0   5    4                           $608.20
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 09/30/2024
       33 Parmenter Rd.
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.

       Bluffton, SC 29910
                                                                   ❑ Contingent
                                                                   ❑ Unliquidated
                                                                   ✔ Disputed
      City                    State                   ZIP Code
                                                                   ❑
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                   Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Storage Bill
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: D0013-15x15x8




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


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 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.21 Go-Store It                                                  Last 4 digits of account number         8    8   0    4                             $96.00
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 11/01/2024
       33 Parmenter Rd.
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.

       Bluffton, SC 29910
                                                                   ❑ Contingent
                                                                   ❑ Unliquidated
                                                                   ✔ Disputed
      City                    State                   ZIP Code
                                                                   ❑
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                   Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Storage Bill
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: A0002
 4.22 Go-Store It                                                  Last 4 digits of account number         1    0   9    6                           $507.60
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 10/01/2024
       33 Parmenter Rd.
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.

       Bluffton, SC 29910
                                                                   ❑ Contingent
                                                                   ❑ Unliquidated
                                                                   ✔ Disputed
      City                    State                   ZIP Code
                                                                   ❑
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                   Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Storage Bill
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: C0029




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


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 4.23 Go-Store It                                                  Last 4 digits of account number         1    0   6    8                           $343.20
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 10/01/2024
       33 Parmenter Rd.
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.

       Bluffton, SC 29910
                                                                   ❑ Contingent
                                                                   ❑ Unliquidated
                                                                   ✔ Disputed
      City                    State                   ZIP Code
                                                                   ❑
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                   Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Storage Bill
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: E0004A
 4.24 Go-Store It                                                  Last 4 digits of account number         1    0   9    5                           $291.80
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 10/01/2024
       33 Parmenter Rd.
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.

       Bluffton, SC 29910
                                                                   ❑ Contingent
                                                                   ❑ Unliquidated
                                                                   ✔ Disputed
      City                    State                   ZIP Code
                                                                   ❑
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                   Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Storage Bill
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: A0003




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


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 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
4.25 Hilton Head Resort                                            Last 4 digits of account number         1    3   0    5                          $5,297.63
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 06/30/2023
      Board of Directors
      663 William Hilton Pkwy
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
      Hilton Head, SC 29928-3506
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                              ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify HOA fines
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.26 Home Depot Commercial                                         Last 4 digits of account number         2    8   0    8                         $10,381.06
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
      Centralized bankruptcy
      PO Box 790034
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
      Saint Louis, MO 63179
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only                                              ❑ Student loans
      ❑
                                                                   ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.27 Home Depot Loan                                              Last 4 digits of account number         6    7   1    9                         $2,672.38
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 03/13/2018
       P.O. Box 2730
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.

       Alpharetta, GA 30023
                                                                   ❑ Contingent
      City                    State                   ZIP Code
                                                                   ❑ Unliquidated
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                   Type of NONPRIORITY unsecured claim:

      ✔ Debtor 2 only
      ❑                                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.28 Hughes Network Systems                                       Last 4 digits of account number         2    9   3    6                              $0.00
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 11/01/2024
       PO Box 96874
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.

       Chicago, IL 60693-6874
                                                                   ❑ Contingent
      City                    State                   ZIP Code
                                                                   ❑ Unliquidated
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                   Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Utilities
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
4.29 JPMC                                                          Last 4 digits of account number         5    6   7    1                         $17,242.49
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 01/03/2024
      c/o National Bankruptcy Services, LLC
      PO Box 9013
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
      Addison, TX 75001
                                                                   ❑ Unliquidated
                                                                   ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                   Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.30 JPMorgan Chase Bank, N.A.                                     Last 4 digits of account number         5    0   4    2                         $17,349.55
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 03/22/2024
      Robertson, Anschutz, Schneid, Crane
      6409 Congress Avenue Ste. 100
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
      Boca Raton, FL 33487
                                                                   ❑ Unliquidated
                                                                   ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ At least one of the debtors and another
                                                                      priority claims
      ❑                                                            ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
4.31 JPMorgan Chase Bank, N.A.                                     Last 4 digits of account number         0    9   4    9                         $33,411.50
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 03/28/2024
       Robertson, Anschutz, Schneid, Crane
       6409 Congress Avenue 100
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
       Boca Raton, FL 33487
                                                                   ❑ Unliquidated
                                                                   ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only
      ❑                                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.32 Kohls                                                         Last 4 digits of account number                                                  $1,405.66
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       PO Box 3043
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   ❑ Contingent
       Milwaukee, WI 53201-3043                                    ❑ Unliquidated
      City                    State                   ZIP Code     ❑ Disputed
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only                                              ❑ Student loans
      ❑ Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                               priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.33 LVNV Funding, LLC                                            Last 4 digits of account number         5    1   4    3                           $267.15
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 10/09/2024
       Resurgent Captial Services
       PO Box 10587
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
       Greenville, SC 29603-0587
                                                                   ❑ Unliquidated
                                                                   ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                   Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: Uniform Claim ID: RSG-00248-804400462
 4.34 LVNV Funding, LLC                                            Last 4 digits of account number         6    9   7    8                           $801.28
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 10/09/2024
       Resurgent Captial Services
       PO Box 10587
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
       Greenville, SC 29603-0587
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                   Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: Uniform Claim ID: RSG-00248-804407818




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


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 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
4.35 Medical University of South Carolina                          Last 4 digits of account number         7    2   7    5                          unknown
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 04/08/2025
      1 Poston Rd Ste 220
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.

      Charleston, SC 29407
                                                                   ❑ Contingent
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                   Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Medical Bill
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.36 NES                                                           Last 4 digits of account number         3    7   1    3                         $10,323.49
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
      2479 Edison Blvd Unit A
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   ❑ Contingent
      Twinsburg, OH 44087
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only
      ❑                                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Jacqueline              Elizabeth            Ard                              Case number (if known) 25-01384-JD
Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


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 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.37 NES                                                          Last 4 digits of account number         3    4   0    3                         $8,960.51
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       2479 Eddison Blvd Unit A
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   ❑ Contingent
       Twinsburg, OH 44087
                                                                   ❑ Unliquidated
                                                                   ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only
      ❑                                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.38 Office Depot Commercial                                      Last 4 digits of account number         0    3   6    0                         $1,889.18
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       PO Box 70612
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   ❑ Contingent
       Philadelphia, PA 19176-0612
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                              ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.39 Ohio Turnpike Easy Pass                                      Last 4 digits of account number                                                 unknown
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       PO Box 94672
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   ❑ Contingent
       Cleveland, OH 44101                                         ❑ Unliquidated
      City                    State                   ZIP Code     ❑ Disputed
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only                                              ❑ Student loans
      ❑ Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                               priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Tickets
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.40 Pacer Service Center                                         Last 4 digits of account number         3    3   6    3                         $1,035.20
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 03/10/2025
       PO Box 780549
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.

       San Antonio, TX 78278
                                                                   ❑ Contingent
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                   Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Consumer Debt
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


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 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.41 Palmetto Electric                                            Last 4 digits of account number         4    0   0    7                           $856.04
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 01/27/2025
       Attn: Michelle Tyler
       111 Matthews Drive
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
       Hilton Head Island, SC 29926
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                   Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Utilities
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: Utility Services for 3218
 4.42 Palmetto Electric                                            Last 4 digits of account number         4    0   0    9                         unknown
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 02/10/2025
       Attn: Michelle Tyler
       111 Matthews Drive
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
       Hilton Head Island, SC 29926
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                   Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Utilities
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: Utility Service for 4408




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


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 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.43 Palmetto Electric                                            Last 4 digits of account number         4    0   0    8                         unknown
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 02/20/2025
       Attn: Michelle Tyler
       111 Matthews Drive
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
       Hilton Head Island, SC 29926
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                   Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Utilities
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: Utiliy Service for 4405
 4.44 Peoples Gas                                                  Last 4 digits of account number         1    6   3    9                           $860.53
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 04/23/2019
       PO Box 644760
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.

       Pittsburgh, PA 15264-4760
                                                                   ❑ Contingent
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                   Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Utilities
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.45 PODS                                                         Last 4 digits of account number         4    6   1    4                         $1,883.00
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 10/01/2024
       Legal Department
       5585 Rio Vista Dr.
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
       Clearwater, FL 33760
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only
      ❑                                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Storage Bill
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.46 Quantum3 Group LLC                                           Last 4 digits of account number         7    0   0    2                         $4,073.98
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 09/05/2023
       Agent for Crown Asset Management LLC
       PO Box 788
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
       Kirkland, WA 98083-0788
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only
      ❑                                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: Uniform Claim ID: Q2141424518




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.47 Resurgent Receivables, LLC                                   Last 4 digits of account number         7    4   7    8                           $485.80
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 05/15/2024
       Resurgent Capital Services
       PO Box 10587
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
       Greenville, SC 29603-0587
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                   Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: Uniform Claim ID: RSG-00248-804427110
 4.48 SC Department of Motor Vehicles                              Last 4 digits of account number         7    0   2    5                         unknown
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       PO Box 1498
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   ❑ Contingent
       Blythewood, SC 29016-0028
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
                                                                   Type of NONPRIORITY unsecured claim:
      ❑
      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Tickets
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.49 Synchrony Bank                                               Last 4 digits of account number         1    3   5    4                         $3,493.08
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       Paypal Credit
       PO Box 669809
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
       Dallas, TX 75266
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑
                                                                   ❑ Student loans
      ❑ Debtor 2 only
                                                                   ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.50 Synchrony Bank Sams Business                                 Last 4 digits of account number         5    4   8    7                         $6,016.04
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       PO Box 669809
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   ❑ Contingent
       Dallas, TX 75266
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only
      ❑                                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


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 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.51 Synchrony Bank Sams Master Card                              Last 4 digits of account number         7    8   2    2                         $8,690.41
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       PO Box 669809
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   ❑ Contingent
       Dallas, TX 75266
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only
      ❑                                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.52 Synchrony Bank Score Rewards                                 Last 4 digits of account number                                                   $854.71
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       PO Box 669809
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   ❑ Contingent
       Dallas, TX 75266                                            ❑ Unliquidated
      City                    State                   ZIP Code     ❑ Disputed
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only                                              ❑ Student loans
      ❑ Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                               priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
                First Name              Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.53 TD Bank                                                      Last 4 digits of account number         2    5   7    3                         unknown
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       PO Box 840
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   ❑ Contingent
       Columbus, GA 31908
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
                                                                   Type of NONPRIORITY unsecured claim:
      ❑
      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Bank Account
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.54 TD Bank                                                      Last 4 digits of account number         3    4   7    7                         $2,398.35
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       Target
       PO Box 673
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
       Minneapolis, MN 55440-0673
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only                                              ❑ Student loans
      ❑
                                                                   ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
4.55 The Huntington National Bank                                  Last 4 digits of account number         3    0   5    8                         $12,878.39
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 10/26/2023
      PO Box 89424 OPC856
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.

      Cleveland, OH 44101
                                                                   ❑ Contingent
      City                    State                   ZIP Code
                                                                   ❑ Unliquidated
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                   Type of NONPRIORITY unsecured claim:

      ✔ Debtor 2 only
      ❑                                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.56 The Huntington National Bank                                  Last 4 digits of account number         7    0   4    3                         $14,395.02
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 07/24/2023
      PO Box 89424 OPC856
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.

      Cleveland, OH 44101
                                                                   ❑ Contingent
      City                    State                   ZIP Code
                                                                   ❑ Unliquidated
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                   Type of NONPRIORITY unsecured claim:

      ✔ Debtor 2 only
      ❑                                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Credit Card
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


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 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
4.57 The Woodlands at Saint Barnabas, inc                          Last 4 digits of account number         1    0   1    8                         $58,550.40
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 10/04/2024
      Thomas E. Breath
      128 West Cunningham St
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
      Butler, PA 16001
                                                                   ❑ Unliquidated
                                                                   ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                              ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Rent
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: Dillon, McCandless, King, Coulter & Graham, LLP
4.58 Thomas and Claudia Crook                                      Last 4 digits of account number                                                  unknown
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
      Attn Braun Kendrick Finkbeiner, PLC
      4301 Fashion Square Blvd                                     As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ✔ Contingent
                                                                   ❑
      Saginaw, MI 48603                                            ❑ Unliquidated
      City                    State                   ZIP Code     ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only                                              ❑ Student loans
      ❑ Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                               priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Legal Dispute
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


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 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.59 T-Mobile                                                     Last 4 digits of account number         6    2   3    7                           $956.78
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 10/01/2024
       PO Box 742596
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.

       Cincinnati, OH 45274-2596
                                                                   ❑ Contingent
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code
                                                                   ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                   Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ At least one of the debtors and another
      ❑
                                                                      priority claims
                                                                   ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Business Debt
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.60 Traffic Magistrate                                           Last 4 digits of account number                                                 unknown
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       4819 Bluffton Parkway
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   ❑ Contingent
       Bluffton, SC 29910                                          ❑ Unliquidated
      City                    State                   ZIP Code     ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                            ❑ Student loans
      ❑ Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Ticket
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


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 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
4.61 U.S. Department of Education c/o Nelnet                       Last 4 digits of account number         3    7   4    8                         $76,223.69
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
      121 South 13th St
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   ❑ Contingent
      Lincoln, NE 68508
                                                                   ❑ Unliquidated
                                                                   ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                   Type of NONPRIORITY unsecured claim:
                                                                   ✔ Student loans
                                                                   ❑
      ❑ Debtor 2 only
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.62 Verizon                                                       Last 4 digits of account number         0    0   0    1                            $987.01
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
      Wireless Bankruptcy Administration
      500 Technology Dr Ste. 500
                                                                   As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                   ❑ Contingent
      Saint Charles, MO 63304
                                                                   ❑ Unliquidated
      City                    State                   ZIP Code     ✔ Disputed
                                                                   ❑
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
                                                                   ❑ Student loans
      ❑ Debtor 2 only
      ✔ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑                                                               priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 2        Terry                   Frank                Nicola
               First Name               Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
 4.63 West Virginia EZ Pass                                        Last 4 digits of account number                                                 unknown
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
       300 Spruce St.
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   ❑ Contingent
       Morgantown, WV 26505                                        ❑ Unliquidated
      City                    State                   ZIP Code     ❑ Disputed
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                            ❑ Student loans
      ❑ Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Ticket
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.64 Wright's Custom Body Shop LLC                                Last 4 digits of account number         2    6   6    1                         unknown
      Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 04/14/2023
       1216 Leeson Ave
      Number             Street
                                                                   As of the date you file, the claim is: Check all that apply.

       Cadillac, MI 49601-9097                                     ❑ Contingent
                                                                   ❑ Unliquidated
                                                                   ✔ Disputed
      City                    State                   ZIP Code
                                                                   ❑
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                              Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ At least one of the debtors and another
      ❑
                                                                      priority claims
                                                                   ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: Progressive Insurance Claim XX-XXXXXXX




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Debtor 2        Terry                 Frank                  Nicola
               First Name             Middle Name           Last Name

   Part 3:      List Others to Be Notified About a Debt That You Already Listed

 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
    collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection
    agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If
    you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 1. Detroit Water and Sewerage Dept                                On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                   Line 2.6 of (Check one):
                                                                                                 ✔ Part 1: Creditors with Priority Unsecured Claims
                                                                                                 ❑
     Po Box 554899                                                                               ❑ Part 2: Creditors with Nonpriority Unsecured Claims
    Number         Street
                                                                   Last 4 digits of account number

     Detroit, MI 48255-4899
    City                         State          ZIP Code
 2. Detroit Water and Sewerage Dept                                On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                   Line 2.7 of (Check one):
                                                                                                 ✔ Part 1: Creditors with Priority Unsecured Claims
                                                                                                 ❑
     Po Box 554899                                                                               ❑ Part 2: Creditors with Nonpriority Unsecured Claims
    Number         Street
                                                                   Last 4 digits of account number

     Detroit, MI 48255-4899
    City                         State          ZIP Code
 3. ADT Security Services                                          On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                   Line 4.1 of (Check one):      ❑ Part 1: Creditors with Priority Unsecured Claims
     PO Box 650485                                                                               ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                 ❑
    Number         Street
                                                                   Last 4 digits of account number

     Dallas, TX 75265-0485
    City                         State          ZIP Code
 4. Portfolio Recovery                                             On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                   Line 4.2 of (Check one):      ❑ Part 1: Creditors with Priority Unsecured Claims
     PO Box 8828                                                                                 ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                 ❑
    Number         Street
                                                                   Last 4 digits of account number

     Wilmington, DE 19899
    City                         State          ZIP Code
 5. Armstrong Cable                                                On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                   Line 4.5 of (Check one):      ❑ Part 1: Creditors with Priority Unsecured Claims
     437 North Main St                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                 ❑
    Number         Street
                                                                   Last 4 digits of account number

     Butler, PA 16001
    City                         State          ZIP Code
 6. Valor Intelligent Processing, LLC                              On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                   Line 4.7 of (Check one):      ❑ Part 1: Creditors with Priority Unsecured Claims
     12005 Ford Rd 700                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                 ❑
    Number         Street
                                                                   Last 4 digits of account number

     Dallas, TX 75234
    City                         State          ZIP Code




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Debtor 2        Terry              Frank                Nicola
               First Name          Middle Name          Last Name

   Part 3:      List Others to Be Notified About a Debt That You Already Listed - Additional Page
 7. AT&T                                                      On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                              Line 4.8 of (Check one):      ❑ Part 1: Creditors with Priority Unsecured Claims
     PO Box 5080                                                                            ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                            ❑
    Number         Street
                                                              Last 4 digits of account number

     Carol Stream, IL 60197-5014
    City                      State        ZIP Code
 8. Americollect                                              On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                              Line 4.11 of (Check one):     ❑ Part 1: Creditors with Priority Unsecured Claims
     PO Box 2080                                                                            ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                            ❑
    Number         Street
                                                              Last 4 digits of account number

     Manitowoc, WI 54221-2080
    City                      State        ZIP Code
 9. Penn Power                                                On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                              Line 4.18 of (Check one):     ❑ Part 1: Creditors with Priority Unsecured Claims
     PO Box 3687                                                                            ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                            ❑
    Number         Street
                                                              Last 4 digits of account number

     Akron, OH 44309-3687
    City                      State        ZIP Code
10. Fortiva                                                   On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                              Line 4.19 of (Check one):     ❑ Part 1: Creditors with Priority Unsecured Claims
     PO Box 650721                                                                          ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                            ❑
    Number         Street
                                                              Last 4 digits of account number

     Dallas, TX 75265
    City                      State        ZIP Code
11. Go-Store it Management, LLC                               On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                              Line 4.20 of (Check one):     ❑ Part 1: Creditors with Priority Unsecured Claims
     6805 Carnegie Blvd. Ste 250                                                            ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                            ❑
    Number         Street
                                                              Last 4 digits of account number

     Charlotte, NC 28211-4276
    City                      State        ZIP Code
12. Go-Store it Management, LLC                               On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                              Line 4.21 of (Check one):     ❑ Part 1: Creditors with Priority Unsecured Claims
     6805 Carnegie Blvd. Ste 250                                                            ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                            ❑
    Number         Street
                                                              Last 4 digits of account number

     Charlotte, NC 28211-4276
    City                      State        ZIP Code

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Debtor 2        Terry                Frank                Nicola
               First Name          Middle Name            Last Name

   Part 3:      List Others to Be Notified About a Debt That You Already Listed - Additional Page
13. Go-Store it Management, LLC                                 On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                Line 4.22 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     6805 Carnegie Blvd. Ste 250                                                             ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                             ❑
    Number         Street
                                                                Last 4 digits of account number

     Charlotte, NC 28211-4276
    City                      State          ZIP Code
14. Go-Store it Management, LLC                                 On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                Line 4.23 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     6805 Carnegie Blvd. Ste 250                                                             ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                             ❑
    Number         Street
                                                                Last 4 digits of account number

     Charlotte, NC 28211-4276
    City                      State          ZIP Code
15. Go-Store it Management, LLC                                 On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                Line 4.24 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     6805 Carnegie Blvd. Ste 250                                                             ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                             ❑
    Number         Street
                                                                Last 4 digits of account number

     Charlotte, NC 28211-4276
    City                      State          ZIP Code
16. Wm Weston J Newton                                          On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                Line 4.25 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     Jones, Simpson, & Newton, P.A.                                                          ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                             ❑
     7 Plantation Park Drive Ste 3                              Last 4 digits of account number
    Number         Street
     Bluffton, SC 29910
    City                      State          ZIP Code
17. Home Depot Credit Services                                  On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                Line 4.26 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     PO Box 790345                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                             ❑
    Number         Street
                                                                Last 4 digits of account number

     Saint Louis, MO 63179-0345
    City                      State          ZIP Code
18. Home Depot Loan #3877                                       On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                Line 4.27 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     6125 Lakeview Rd Ste. 800                                                               ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                             ❑
    Number         Street
                                                                Last 4 digits of account number

     Charlotte, NC 28269-2613
    City                      State          ZIP Code




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Debtor 2        Terry             Frank                Nicola
               First Name         Middle Name          Last Name

   Part 3:      List Others to Be Notified About a Debt That You Already Listed - Additional Page
19. Hughes Network Systems                                   On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                             Line 4.28 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     11717 Exploration Lane                                                               ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                          ❑
    Number         Street
                                                             Last 4 digits of account number

     Germantown, MD 20876
    City                      State        ZIP Code
20. JPMorgan Chase Bank, N.A.                                On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                             Line 4.29 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     Payments                                                                             ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                          ❑
     PO Box 15368                                            Last 4 digits of account number
    Number         Street
     Wilmington, DE 19850
    City                      State        ZIP Code
21. Chipumoi, Nicolas                                        On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                             Line 4.30 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     6409 Congress Ave Ste 100                                                            ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                          ❑
    Number         Street
                                                             Last 4 digits of account number

     Boca Raton, FL 33487-2853
    City                      State        ZIP Code
22. JPMorgan Chase Bank, N.A.                                On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                             Line 4.31 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     Payments                                                                             ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                          ❑
     PO Box 15368                                            Last 4 digits of account number
    Number         Street
     Wilmington, DE 19850
    City                      State        ZIP Code
23. Kohls Payment Center                                     On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                             Line 4.32 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     PO Box 1456                                                                          ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                          ❑
    Number         Street
                                                             Last 4 digits of account number

     Charlotte, NC 28201-1456
    City                      State        ZIP Code
24. PNC Bank                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                             Line 4.36 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     PO Box 609                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                          ❑
    Number         Street
                                                             Last 4 digits of account number

     Pittsburgh, PA 15230-9738
    City                      State        ZIP Code




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               First Name         Middle Name          Last Name

   Part 3:      List Others to Be Notified About a Debt That You Already Listed - Additional Page
25. PNC National Association                                 On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                             Line 4.37 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     PO Box 5570                                                                          ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                          ❑
    Number         Street
                                                             Last 4 digits of account number

     Cleveland, OH 44101-0570
    City                      State        ZIP Code
26. Office Depot                                             On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                             Line 4.38 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     PO Box 78004                                                                         ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                          ❑
    Number         Street
                                                             Last 4 digits of account number

     Phoenix, AZ 85062
    City                      State        ZIP Code
27. US Courts; PACER                                         On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                             Line 4.40 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     PO Box 5208                                                                          ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                          ❑
    Number         Street
                                                             Last 4 digits of account number

     Portland, OR 97208
    City                      State        ZIP Code
28. Palmetto Electric Cooperative Inc                        On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                             Line 4.41 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     PO Box 70878                                                                         ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                          ❑
    Number         Street
                                                             Last 4 digits of account number

     Charlotte, NC 28272-0878
    City                      State        ZIP Code
29. Palmetto Electric Cooperative Inc                        On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                             Line 4.42 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     PO Box 70878                                                                         ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                          ❑
    Number         Street
                                                             Last 4 digits of account number

     Charlotte, NC 28272-0878
    City                      State        ZIP Code
30. Palmetto Electric Cooperative Inc                        On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                             Line 4.43 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     PO Box 70878                                                                         ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                          ❑
    Number         Street
                                                             Last 4 digits of account number

     Charlotte, NC 28272-0878
    City                      State        ZIP Code




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               First Name         Middle Name          Last Name

   Part 3:      List Others to Be Notified About a Debt That You Already Listed - Additional Page
31. National Recovery Agency                                 On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                             Line 4.44 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     2491 Paxton St.                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                          ❑
    Number         Street
                                                             Last 4 digits of account number       6    5   3    1

     Harrisburg, PA 17111
    City                      State         ZIP Code
32. PODS                                                     On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                             Line 4.45 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     280 Leetsdale Industrial Dr. Ste 200                                                 ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                          ❑
    Number         Street
                                                             Last 4 digits of account number

     Leetsdale, PA 15056
    City                      State         ZIP Code
33. PODS Enterprises, LLC                                    On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                             Line 4.45 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     13535 Feather Sound Dr                                                               ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                          ❑
    Number         Street
                                                             Last 4 digits of account number

     Clearwater, FL 33762
    City                      State         ZIP Code
34. Quantum3 Group, LLC                                      On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                             Line 4.46 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     PO Box 2489                                                                          ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                          ❑
    Number         Street
                                                             Last 4 digits of account number

     Kirkland, WA 98083-2489
    City                      State         ZIP Code
35. SC Driver Records                                        On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                             Line 4.48 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     PO Box 1498                                                                          ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                          ❑
    Number         Street
                                                             Last 4 digits of account number

     Blythewood, SC 29016
    City                      State         ZIP Code
36. Target Card Services                                     On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                             Line 4.54 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     PO Box 660170                                                                        ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                          ❑
    Number         Street
                                                             Last 4 digits of account number

     Dallas, TX 75266-0170
    City                      State         ZIP Code




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               First Name         Middle Name           Last Name

   Part 3:      List Others to Be Notified About a Debt That You Already Listed - Additional Page
37. The Huntington National Bank                              On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                              Line 4.55 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     5555 Cleveland Ave GW4W122                                                            ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                           ❑
    Number         Street
                                                              Last 4 digits of account number

     Columbus, OH 43231
    City                      State        ZIP Code
38. The Huntington National Bank                              On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                              Line 4.56 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     5555 Cleveland Ave GW4W122                                                            ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                           ❑
    Number         Street
                                                              Last 4 digits of account number

     Columbus, OH 43231
    City                      State        ZIP Code
39. St. Barnabas                                              On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                              Line 4.57 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     5850 Meridian Rd.                                                                     ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                           ❑
    Number         Street
                                                              Last 4 digits of account number

     Gibsonia, PA 15044
    City                      State        ZIP Code
40. T-Mobile Customer Relations                               On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                              Line 4.59 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     PO Box 37380                                                                          ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                           ❑
    Number         Street
                                                              Last 4 digits of account number

     Albuquerque, NM 87176-7380
    City                      State        ZIP Code
41. T-Mobile                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                              Line 4.59 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     c/o American Infosource, LP                                                           ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                           ❑
     4515 N Santa Fe Ave.                                     Last 4 digits of account number
    Number         Street
     Oklahoma City, OK 73118-7901
    City                      State        ZIP Code
42. US Department of Education                                On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                              Line 4.61 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     PO Box 2837                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                           ❑
    Number         Street
                                                              Last 4 digits of account number

     Portland, OR 97208
    City                      State        ZIP Code




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               First Name         Middle Name          Last Name

   Part 3:      List Others to Be Notified About a Debt That You Already Listed - Additional Page
43. University of Michigan Deaborn                           On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                             Line 4.61 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     4901 Evergreen Rd.                                                                   ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                          ❑
    Number         Street
                                                             Last 4 digits of account number

     Dearborn, MI 48128
    City                      State        ZIP Code
44. Verizon                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                             Line 4.62 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     1095 Avenue of The Americas                                                          ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                          ❑
    Number         Street
                                                             Last 4 digits of account number

     New York, NY 10036
    City                      State        ZIP Code
45. Progressive Insurance                                    On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                             Line 4.64 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     30440 Lakeland Blvd                                                                  ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                          ❑
    Number         Street
                                                             Last 4 digits of account number

     Wickliffe, OH 44092
    City                      State        ZIP Code




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                       page 49 of 50
                Case 25-01384-jd               Doc 27        Filed 04/25/25 Entered 04/28/25 09:44:39                            Desc Main
                                                             Document     Page 66 of 67
Debtor 1          Jacqueline              Elizabeth              Ard                         Case number (if known) 25-01384-JD
Debtor 2          Terry                   Frank                  Nicola
                  First Name             Middle Name            Last Name

      Part 4:     Add the Amounts for Each Type of Unsecured Claim

 6.     Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
        Add the amounts for each type of unsecured claim.



                                                                                                Total claim

 Total claims      6a.    Domestic support obligations                                6a.                           $0.00
 from Part 1
                   6b.    Taxes and certain other debts you owe the government        6b.                           $0.00

                   6c.    Claims for death or personal injury while you were          6c.                           $0.00
                          intoxicated

                   6d.    Other. Add all other priority unsecured claims.             6d.   +                  $22,051.73
                          Write that amount here.

                   6e.    Total. Add lines 6a through 6d.                             6e.
                                                                                                              $22,051.73



                                                                                                Total claim

 Total claims      6f.    Student loans                                               6f.                      $76,223.69
 from Part 2
                   6g.    Obligations arising out of a separation agreement or        6g.                           $0.00
                          divorce that you did not report as priority claims

                   6h.    Debts to pension or profit-sharing plans, and other         6h.                           $0.00
                          similar debts

                   6i.    Other. Add all other nonpriority unsecured claims.          6i.   +                 $326,645.11
                          Write that amount here.

                   6j.    Total. Add lines 6f through 6i.                             6j.
                                                                                                           $402,868.80




Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                    page 50 of 50
               Case 25-01384-jd                    Doc 27   Filed 04/25/25 Entered 04/28/25 09:44:39                                   Desc Main
                                                            Document     Page 67 of 67
 Fill in this information to identify your case:

  Debtor 1           Jacqueline               Elizabeth           Ard
                     First Name              Middle Name         Last Name

  Debtor 2           Terry                    Frank               Nicola
  (Spouse, if filing) First Name             Middle Name         Last Name

  United States Bankruptcy Court for the: District of South Carolina

  Case number      25-01384-JD
  (if known)                                                                                                                           ❑ Check if this is an
                                                                                                                                            amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                      12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number
the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if
known). Answer every question.

 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ❑ No
        ✔ Yes
        ❑
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
        California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ✔ No. Go to line 3.
        ❑
        ❑ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
          ❑ No
          ❑ Yes. In which community state or territory did you live?                                   . Fill in the name and current address of that person.


                 Name of your spouse, former spouse, or legal equivalent


                 Number                   Street


                 City                              State                     ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line
        2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
        Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                      Column 2: The creditor to whom you owe the debt

                                                                                                     Check all schedules that apply:
 3.1    Global Management Group LLC
        Name                                                                                         ❑ Schedule D, line
        21215 Dartmouth Dr                                                                           ✔ Schedule E/F, line 4.30, 4.59, 4.64
                                                                                                     ❑
        Number                          Street
                                                                                                     ❑ Schedule G, line
        Southfield, MI 48076-5634
        City                                       State                                ZIP Code

 3.2    Louis
        Name                                                                                         ❑ Schedule D, line
        21215 Dartmouth Dr                                                                           ✔ Schedule E/F, line
                                                                                                     ❑                          4.7, 4.8
        Number                          Street
                                                                                                     ❑ Schedule G, line
        Southfield, MI 48076-5634
        City                                       State                                ZIP Code




Official Form 106H                                                   Schedule H: Codebtors                                                           page 1 of 1
